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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION
                             CASE NO. 20-61872-CIV-SINGHAL/HUNT

  ALAN DERSHOWITZ,

                Plaintiff,
  v.

  CABLE NEWS NETWORK, INC.,

             Defendant.
  _______________________________/
                                           ORDER

          THIS CAUSE is before this Court following an August 5, 2022 discovery hearing.

  The Honorable Anuraag H. Singhal, United States District Judge, referred discovery to

  the undersigned for disposition. ECF No. 34; see also 28 U.S.C. § 636(b); S.D. Fla. Mag.

  R. 1.    The undersigned, having carefully reviewed the argument of Counsel and

  applicable law, and being otherwise fully advised in the premises, ORDERS as follows:

          At issue is Plaintiff’s attempt to obtain the compensation information of certain

  employees of Defendant. Plaintiff seeks this information because, he argues, it is

  relevant to the employees’ credibility and bias as witnesses, as people generally “don’t

  bite the hand that feeds them.” Defendant contends that this question has already been

  found to be outside the scope of discovery, citing a previous discovery ruling limiting a

  prior request for employment agreements to only those commentators who made the

  statements at issue.

          The reasoning behind that discovery ruling turned on the “actual malice” standard

  under which this case operates.        The Court there determined the employment

  agreements “had at least some relevance,” and could lead to evidence concerning the
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  speakers’ state of mind. ECF No. 150 at 3-4. As only the speakers’ state of mind would

  bear on the actual malice inquiry, it stood to reason that only the speakers’ employment

  agreements are relevant.

           Here the inquiry is slightly different. Plaintiff at the hearing conceded that he now

  seeks only the salaries of the individuals he deposed – some of whom have already had

  their employment agreements disclosed -- on the theory that compensation may affect

  the impartiality and credibility of Defendant’s employees who testify at trial.          The

  undersigned finds that the Court’s prior ruling as to the employment agreements does not

  extend to Plaintiff’s current request.

           As to whether the salaries are therefore discoverable, this Court agrees that “this

  type of evidence is admissible for purposes of establishing witness bias.” In re 3M Combat

  Arms Earplug Prod. Liab. Litig., No. 3:19MD2885, 2021 WL 1088433, at *3 (N.D. Fla.

  Mar. 22, 2021). It is therefore discoverable for this purpose, although this Court notes

  that the scope of discovery is greater than the scope of admissibility. Plaintiff represented

  that this should apply to, at most, five individuals, as Plaintiff already has some the

  information sought through previously-disclosed employment agreements. As with those

  employment agreements, concerns over the sensitive nature of the information are

  alleviated by the fact that the information would be subject to the standing Protective

  Order.

           Accordingly, it is hereby ORDERED and ADJUDGED that:




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        Defendants shall on or before August 12, 2022, turn over the compensation

  information for current employees deposed by Plaintiff. Defendant need not turn over this

  information for those whose employment agreements have already been disclosed.

        DONE and ORDERED at Fort Lauderdale, Florida, this 9th day of August 2022.



                                           _________________________________
                                           PATRICK M. HUNT
                                           UNITED STATES MAGISTRATE JUDGE
  Copies furnished to:
  The Honorable Anuraag H. Singhal
  All counsel of record




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